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                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF KENTUCKY
                              LOUISVILLE DIVISION
                            CASE NO. 3:09-CR-00012-TBR


UNITED STATES OF AMERICA                                                           PLAINTIFF

v.

JESSE CARNEY, JR.                                                                DEFENDANT


                        MEMORANDUM OPINION AND ORDER

       This matter comes before the Court upon Defendant, Jesse Carney, Jr.’s, Motion to Suppress

All Physical and Testimonial Evidence Obtained as a Result of Unlawful Police Actions and

Request for a Hearing (Docket # 40). The Government has filed a response (Docket # 41). A

hearing was held on September 2, 2009. This matter is now ripe for adjudication. For the reasons

that follow, Defendant’s Motion to Suppress is GRANTED.

                                      BACKGROUND

       On November 21, 2008, investigators received information from Aaron Williams that an

individual had used counterfeit currency to purchase a Nintendo Wii. Williams stated that the

vehicle driven by the individual was a white Chevy SUV. On December 2, 2008, Williams’ mother

contacted investigators and told them that the vehicle had been located parked in front of 4902

Saddlebrook Court and the license plate number was 871-JKC. Williams and his mother were both

shown a photo-pack line up which did not include Carney. Both identified Jerry King. At the

hearing, there was testimony that no witness saw an individual with a Wii enter this apartment

building.

       On November 28, 2008, an individual attempted to pass counterfeit currency at a Circle K

convenience store. The manager of the store, Amy Forsythe, told United States Secret Service
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Special Agent Ken McNaughton that she was made aware that an individual tried to pass a

counterfeit bill after the clerk, William Thompson, noticed the bill and called her to the counter.

Forsythe told investigators on December 3, 2008, that the individual took, or snatched, the bill from

her to conceal the evidence of the counterfeit money and fled the store. Testimony at the hearing

revealed that the bill was not retained as evidence, nor was the serial number recorded. Forsythe

stated that once the individual left the store he drove away in a white Chevy full-size SUV with

license plate number 871-JKC. Forsythe pulled the video surveillance of the transaction and

provided it to the investigators. On that same date, both Forsythe and Thompson were shown a

photo-pack line up with Carney’s photo included but without a photo of King. Forsythe identified

Carney but Thompson did not.

       According to testimony at the hearing, Special Agent McNaughton reviewed the surveillance

video from the Circle K and determined that an individual that fit Carney’s description was captured

on the video. The video showed Thompson and Forsythe interacting with the individual. The video

reflects the individual giving the counterfeit twenty dollar bill to the clerk and then taking it back

after he is told it is counterfeit. He pays with another bill, immediately leaves the store and drives

away in a white Chevy SUV.

       Investigators determined the vehicle was registered to Jenny McQuillen who lived at 4902

Saddlebrook Court #1, Louisville, KY 40216. Special Agent McNaughton conducted surveillance

of the vehicle and followed it to the Jefferson County Probation and Parole Office. Special Agent

McNaughton then confirmed with the Kentucky Department of Probation and Parole that Jesse

Carney was driving the white SUV and had stated his residence as 4902 Saddlebrook Court #1,

Louisville, KY 40216. The registration of the apartment was not determined.


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       On December 8, 2008, Special Agent McNaughton, LMPD Detective Steve Glauber and two

other officers drove to 4902 Saddlebrook Court #1 and knocked on the door. Carney answered the

door. The officers asked for consent to search the home and the vehicle which was denied. The

officers asked Carney questions concerning the transactions which he refused to answer. Carney was

placed under arrest on state charges for possession of a forged instrument and tampering with

physical evidence. Detective Glauber and Special Agent McNaughton left the scene of the arrest

to transport Carney to the Jefferson County Detention Center. Two Secret Service officers were left

at the scene to secure the apartment.

       While at the scene the officers heard a voice inside the apartment. When asked, Carney

stated that there was no one in the apartment and no one had permission to enter the apartment. The

officers entered the apartment and arrested the co-defendant, Michael Dewitt. Dewitt was detained

on the couch, interviewed, checked for weapons and then released. The officers did not search the

apartment at that time.

       Detective Glauber wrote the affidavit in order to obtain the search warrant. He used

information provided through his own investigation of the Wii situation, as well as information

provided to him by Special Agent McNaughton. After the search warrant was obtained it was

executed. According to testimony, during the search the officers found a gun in the tank of the toilet

in the bathroom, but did not find the counterfeit money. The apartment manager later found the

money in the plunger in the bathroom. All of the bills had the same serial number.

       On July 21, 2009, Carney moved to exclude this evidence as unlawfully obtained in

violation of Fourth Amendment and requested an evidentiary hearing. The United States filed an

objection to the motion. A hearing was held on September 2, 2009, where both Special Agent


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McNaughton and Detective Glauber testified.

                                          DISCUSSION

       Carney asserts that: the arrest was unlawful; the statements in the affidavit for the search

warrant were deliberately false or stated with reckless disregard for the truth; and there is no

probable cause nexus linking Carney, the vehicle, and the apartment. As a direct result, Carney

moves for all evidence obtained from the search of the apartment and the vehicle be excluded. The

Court finds the arrest was lawful, the statements in the affidavit for the search warrant were not

deliberately false or given with reckless disregard for the truth, and that there was not a probable

cause nexus linking Carney, the vehicle, and the apartment. Additionally, the exclusionary rule does

apply to this situation and the evidence obtained as a result of the search of the vehicle and

apartment should be excluded.

       I. The Arrest

       The Fourth Amendment was established to protect “[t]he right of the people to be secure in

their persons, houses, papers, and effects, against unreasonable searches and seizures.” U.S. CONST.

amend. IV; see also Devenpeck v. Alford, 543 U.S. 146, 152 (2004). An arrest is reasonable under

the Fourth Amendment if there has been execution of an arrest warrant or there is probable cause

that the defendant has committed a crime. Devenpeck, 543 U.S. at 152. No warrant is required to

arrest a suspected felon in a public place if there is probable cause. U.S. v. Watson, 423 U.S. 411,

421-24 (1976). While the arresting officer need not have sufficient evidence in hand to convict the

defendant, an arrest without a warrant “must stand on firmer ground that mere suspicion.” Wong Sun

v. U.S., 371 U.S. 471, 479 (1963) (citing Henry v. U.S., 361 U.S. 98, 101 (1959)) . The Supreme

Court in Wong Sun explained, “[t]he quantum of information which constitutes probable


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cause–evidence which would ‘warrant a man of reasonable caution in the belief’ that a felony has

been committed,–must be measured by the facts of the particular case. Id. (citing Carroll v. United

States, 267 U.S. 132, 162 (1925)). Stated another way, “[w]hether probable cause exists depends

upon the reasonable conclusion to be drawn from the facts known to the arresting officer at the time

of the arrest.” Devenpeck, 543 U.S. at 152 (citing Maryland v. Pringle, 540 U.S. 366, 371 (2003)).

       Carney moves to exclude all evidence obtained as a result of his arrest on the basis that the

arrest was unlawful due to lack of probable cause. Carney argues that the charge of possession of

a forged instrument requires the element of knowing possession. Carney states that the government

did not have possession of the bill at issue and had no evidence that there had been knowing

possession on the part of Carney. Carney reasons that, due to the unlawfulness of the arrest, any

subsequent search of the apartment or vehicle is unlawful and the evidence obtained should be

excluded. For this proposition, Carney cites Steagald v. U.S., where police had an arrest warrant but

went to the home of a third party to make the arrest. 451 U.S. 204 (1981). While at the home of the

third-party the officers found incriminating evidence and prosecuted the third-party. Id. at 215. The

Court in Steagald held that a search of a third-party’s home pursuant to an arrest warrant is as

improper as a warrantless search. Id. The Court stated in dicta that officers should obtain search

warrants when they obtain arrest warrants; but did not hold that an unlawful arrest precludes a later

search pursuant to a valid search warrant. Id. at 221-22.

       In this case, Detective Glauber and Special Agent McNaughton arrested Carney outside of

his apartment in a hallway that had public access. This hallway was a public place negating the

requirement of an arrest warrant to effectuate a valid arrest as long as there was probable cause.

Special Agent McNaughton testified that the arrest was based on the following evidence: the


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testimony of Amy Forsythe; the surveillance video; the photo-pack line up from which Forsythe

identified Carney; and the testimony of Williams regarding the vehicle. Based on the facts known

to the arresting officer at the time of the arrest, the Court finds there was probable cause to arrest

Carney.

       II. The Affidavit

       The Fourth Amendment states that “no Warrants shall issue, but upon probable cause,

supported by Oath or affirmation.” U.S. CONST. amend. IV. When probable cause is required, it is

an obvious assumption that there will be a truthful showing of probable cause. Franks v. Delaware,

438 U.S. 154, 164-65 (1978)(citing U.S. v. Halsey, 257 F. Supp. 1002, 1005 (S.D.N.Y. 1966)). The

Supreme Court in Franks explained,

       this does not mean ‘truthful’ in the sense that every fact recited in the warrant
       affidavit is necessarily correct, for probable cause may be founded upon hearsay and
       upon information received from informants, as well as upon information within the
       affiant’s own knowledge that sometimes must be garnered hastily. But surely it is
       to be ‘truthful’ in the sense that the information put forth is believed or appropriately
       accepted by the affiant as true.

Id. at 165. Thus, the standard requires the defendant prove by a preponderance of the evidence, that

“a false statement knowingly and intentionally, or with reckless disregard for the truth, was included

by the affiant in the warrant affidavit.” Id. at 155-56. If this is established by the defendant, then

the false material must be set aside in determining whether the remaining content is sufficient to

establish probable cause. Id. at 156. If the remaining material is insufficient to establish probable

cause, the search warrant must be voided and the evidence obtained as a result of the search

excluded as if probable cause was lacking on the face of the warrant. Id. See also U.S. v. Campbell,

878 F.2d 170, 172 (6th Cir. 1989)(citing Franks and holding that a deliberate falsehood is required

in order to void a search warrant affidavit, as well as stating “an officer cannot rely on a judicial

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determination of probable cause if that officer knowingly makes false statements to the judge such

that but for these falsities the judge would not have issued the warrant.”)

       Carney asserts that several statements in the affidavit supporting the search warrant were

false so as to void the search warrant. First, Carney declares that the Circle K video and testimony

of Forsythe does not provide enough evidence to establish probable cause to search the property at

4902 Saddlebrook Court #1. Carney specifically addresses the conflict between the description in

the affidavit that the “defendant took the bill from Ms. Forsythe to conceal the evidence of the

counterfeit money and fled the store” and the demeanor of the individual reflected on the

surveillance video. Carney insists that this conflict is particularly misleading when followed later

by the statement that “Agent Ken McNaughton reviewed the surveillance video from the Circle

K....and confirmed that the above defendant, Jesse Carney, appeared in the video passing the

counterfeit $20.00 USD bills on the dates in question.” The second fault Carney finds with the

affidavit concerns this statement, specifically the word “confirmed.” Carney maintains that the use

of the word “confirmed” is misleading, especially since Special Agent McNaughton testified that

the individual in the video fit the general description of Carney but could have been Jerry King.

Third, Carney points to the fact that the affidavit does not address the fact that the Circle K clerk,

William Thompson, did not identify Carney in the photo-pack as Forsythe had done.

       Finally, Carney points to the “Wii Situation” as having no connection to the apartment or

Carney and therefore not being a proper basis for probable cause. Carney states that the only

connection between the Wii paid for by counterfeit currency and himself is the vehicle: a white,

Chevy SUV with 871-JKC plate. Another misstatement also occurred in the affidavit regarding this

situation. The affidavit states that “Mr. Williams called on 12-02-08, and reported that he had


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located the exact vehicle that Jerry King was driving parked in front of 4902 Saddlebrook Ct. that

was bearing Kentucky tag #871JKC.” Another police report indicated that it had in fact been

Williams’ mother, Sheila Evans, who had called and reported the information regarding the vehicle.

Additionally, the information regarding the vehicle was reported several days after the initial report

of the Wii being paid for with counterfeit currency.

       The Court finds that Carney has not proved by a preponderance of the evidence that the

statements of affiant, Detective Glauber, were knowingly and intentionally made or made in reckless

disregard for the truth. As to the first challenge to the affidavit, Special Agent McNaughton testified

he did not take note of the demeanor of the individual in the video and the apparent conflict in the

description of the individual’s demeanor provided by Forsythe. Special Agent McNaughton testified

that he watched the video only for the purpose of identification not to determine veracity of

Forsythe’s statement. This does not appear to be a knowing or intentional falsehood, nor one made

with reckless disregard for the truth.

       As to the statement by the affiant that Special Agent McNaughton had “confirmed” the

identify of Carney and the statements by the affiant regarding details of the vehicle information

reported in the Wii situation, neither was proven as a statement made knowingly and intentionally

or made in reckless disregard for the truth. As the standard by the Court in Franks states, not every

fact recited in the warrant affidavit need be absolutely correct. Id. at 165. The fact that now Special

Agent McNaughton has testified that the individual on the video fit the description of Carney and

could have been King does not alter the fact that at the time the affidavit was sworn the affiant had

an appropriately accepted belief that this statement was in fact true. Similarly, the misstatement that

Williams had reported the vehicle information rather than his mother does not appear to have been


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knowingly or intentionally false or in reckless disregard for the truth.

       Omission of the Cicle K clerk, Thompson’s, failure to identify Carney was not established

by Carney as a knowing or intentional falsehood nor as a reckless disregard for the truth. While this

omission could have been to mislead the magistrate in his finding of probable cause, it may also

have been a mere oversight. Carney presented no evidence that it was intended to mislead the

magistrate, therefore the Court finds that this omission should not be excluded from the affidavit for

the purpose of determining probable cause. Even if the Court had found that this omission was

intentional or with reckless disregard, the striking of this statement alone would not render the

affidavit so deficient as to require the evidence obtained to be excluded.

       The Court finds, based on the above reasoning, that Carney has not proved by a

preponderance of the evidence that the statements of affiant, Detective Glauber, were knowingly and

intentionally made or made in reckless disregard for the truth. Therefore, the Court finds the

statements in the affidavit were not so misleading as to be stricken from the search warrant. The

statements will be used to determine whether probable cause was established by the affidavit.

       III. The Probable Cause Nexus

       The Fourth Amendment specifically requires that, “no Warrants shall issue, but upon

probable cause.” U.S. CONST. amend. IV. The law does not require that every conceivable

explanation other than a suspect’s illegal conduct be ruled out in order to find probable cause,

“[i]nstead, we need only consider whether there are facts that, given the factual and practical

considerations of everyday life, could lead a reasonable person to believe that an illegal act has

occurred or is about to occur.” U.S. v. Strickland, 144 F.3d 412, 416 (6th Cir. 1998) (citations

omitted). “To demonstrate probable cause to justify the issuance of a search warrant, an affidavit


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must contain facts that indicate a fair probability that evidence of a crime will be located on the

premises of the proposed search.” U.S. v. Abboud, 438 F.3d 554, 571 (6th Cir. 2006) (quoting U.S.

v. Frazier, 423 F.3d 526, 531 (6th Cir. 2005), cert. denied, 127 S.Ct. 446 (2006)).

       Reasonable minds may differ as to the determination of probable cause; therefore great

deference is accorded to the magistrate’s determination. U.S. v. Leon, 468 U.S. 897, 914 (1984).

This deference is not unbounded. Id. First, the decision may be inspected as to the knowing or

reckless falsity of the affidavit on which the decision is based. Id. Additionally, the magistrate must

act as a “neutral and detached” magistrate, but not as a rubber stamp. Id. Finally, “courts will not

defer to a warrant based on an affidavit that does not ‘provide the magistrate with a substantial basis

for determining the existence of probable cause.’” Id. at 915 (citing Illinois v. Gates, 462 U.S. 213,

239 (1983)). If the magistrate’s probable cause determination was based on an improper analysis

of the totality of the circumstances, or the warrant was improper in some other respect, a reviewing

court may properly conclude the warrant was invalid. Id. In this case, Carney asks the court to find

the warrant invalid for lack of a probable cause nexus linking Carney, the vehicle, and the apartment

searched and to suppress evidence found as a result of that search.

       The affidavit presented in support of the search warrant “must contain particularized facts

demonstrating ‘a fair probability that evidence of a crime will be located on the premises of the

proposed search.’” U.S. v. McPhearson, 469 F.3d 518 (6th Cir. 2006) (quoting Frazier, 423 F.3d

at 531). The magistrate must have a substantial basis for concluding that a search of the premises

would uncover evidence of wrongdoing. U.S. v. Savoca, 739 F.2d 220, 224 (6th Cir. 1984). “This

requires ‘a nexus between the place to be searched and the evidence sought.’” McPhearson, 469

F.3d at 518 (quoting U.S. v. Carpenter, 360 F.3d 591, 594 (6th Cir. 2004)). Mere presence or arrest


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of a suspect at a residence is too insignificant a connection with that residence to establish the nexus

necessary for a finding of probable cause. Id.; U.S. v. Savoca, 761 F.2d 292, 297 (6th Cir. 1985).

The Supreme Court, in Zurcher v. Standford Daily et al., held that “the critical element in a

reasonable search is not that the owner of the property is suspected of crime but that there is

reasonable cause to believe that the specific ‘things’ to be searched for and seized are located on the

property to which entry is sought.” 436 U.S. 547, 556 (1970).

       The Sixth Circuit has ruled in two similar cases that failure of a probable cause nexus has

resulted in a bare bones affidavit. In McPhearson, investigators went to the home of McPhearson

to arrest him on a warrant for simple assault. McPhearson, 469 F.3d at 520. The pat-down of

McPhearson during the search incident to arrest resulted in a finding of crack cocaine in

McPhearson’s pocket. Id. McPhearson refused to consent to a search of his home and the

investigators sought a search warrant based on the finding of crack cocaine on the person of

McPhearson. Id. at 520-521. The search warrant was issued and fully executed. Id. at 521-22. The

Court in McPhearson held, however, that the search warrant was invalid because the “affidavit

failed to establish a nexus between McPhearson’s residence and evidence of wrongdoing that would

support a finding of probable cause.” Id. at 526. In McPhearson, the mere fact that the defendant

possessed illegal drugs did not provide probable cause or establish a nexus that illegal drugs would

be found in the home. This failure of a nexus between the residence and the defendant resulted in

a bare bones affidavit. Id. at 526-527.

       Similarly, in Savoca, FBI agents followed two suspected bank robbers to a motel room and

arrested them after they exited the room. 739 F.2d at 222. The agents then secured a search warrant

for the motel room for evidence tied to the bank robberies. Id. The warrant affidavit based probable


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cause on the fact that two known suspects were in the same location. Id. The Court held that the

affidavit only established that “two persons known to have been involved in several bank robberies

were observed on the same premises” and such information established no more than a “bare

suspicion.” Id. at 225. The mere fact that two persons known to be involved in illegal activity were

in the same place did not provide probable cause or establish a nexus that evidence of the bank

robberies would be found in the motel room.

       In the cases where the Court has found a probable cause link, an additional fact has been

known and supplied in the affidavit allowing the magistrate to make an inference of probable cause.

For example, in Berry, the officers provided information in the underlying affidavit that Berry was

known to be involved in drug trafficking, he had been arrested for violating his probation for a drug

conviction, and that other officers had discovered drugs in his vehicle. U.S. v. Berry, 565 F.3d 332,

339 (6th Cir. 2009). The affidavit provided a sufficient nexus, unlike the affidavit in McPhearson,

by establishing an additional fact, e.g., that Berry was a known drug dealer, which allowed the

magistrate to infer that drugs would be found in the home.

       In the case at bar, there is no probable cause nexus established between Carney, the vehicle

and the apartment at 4902 Saddlebrook Court #1. While there may have been probable cause to

arrest Carney based on the previously discussed evidence regarding the incident at Circle K, the

arrest did not provide probable cause to search the apartment. The mere fact that the white SUV

with Kentucky plate 871-JKC was parked in front of the apartment building is not a sufficient

enough link to establish probable cause to search the apartment. Additionally, the use of counterfeit

currency by another individual in purchasing a Wii, nearly two weeks prior to the arrest and search,

is not a sufficient enough link to establish probable cause. While the sale of Wii may have linked


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the vehicle to counterfeit and the vehicle was again used at the Circle K incident, the likelihood of

finding evidence of the transaction that took place at the Circle K was slight since over a week had

passed since the transaction. The nexus the government has attempted to construct is much too

attenuated to establish probable cause.

        IV. The Exclusionary Rule

        The exclusionary rule has been used to suppress evidence obtained in violation of the Fourth

Amendment. However, it is clear that the rule was “neither intended nor able to ‘cure the invasion

of the defendant’s rights which he has already suffered.’” Leon, 468 U.S. at 906 (citing Stone v.

Powell, 428 U.S. 465, 540 (1976)). In fact, the rule is a judicially created remedy designed to

protect Fourth Amendment rights through its deterrent effect, rather than to establish a constitutional

right of the aggrieved party. Id. (citing U.S. v. Calandra, 414 U.S. 338, 348 (1974). [In order to have

standing to invoke the exclusionary rule, the prosecution must seek to use the fruits of an illegal

search or seizure against the victim of police misconduct. Leon, 468 U.S. at 910.]

        The deterrent effect of the exclusionary rule is not applicable to judicial officers and their

errors in determining probable cause. Id. at 917. The Court in Stone elaborated, where the officer’s

conduct is objectively reasonable, “excluding the evidence will not further the ends of the

exclusionary rule in any appreciable way.” Stone, 428 U.S. at 539-40. In other words, “penalizing

the officer for the magistrate’s error rather than his own, cannot logically contribute to the deterrence

of Fourth Amendment violations.” Leon, 468 U.S. at 921.

        This standard requires that the officer be acting in an objectively reasonable manner. There

are circumstances where the officer may not be acting in an objectively reasonable manner in relying

on the probable cause determination of the magistrate. Id. at 922-23. For example, if the magistrate


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judge was misled by information in the affidavit that the affiant knew was false or was in reckless

disregard for the truth. Id. at 923. Exclusion may also be proper if the issuing magistrate wholly

abandoned his detached neutrality. Id.; see Lo-Ji Slaes, Inc. v. New York, 442 U.S. 319 (1979). Nor

would an officer be acting in an objectively reasonable manner if he were to rely on a warrant based

on an affidavit “so lacking in indicia of probable cause as to render official belief in its existence

entirely unreasonable.” Brown v. Illinois, 422 U.S. 590, 610-11 (1975). Finally, exclusion is proper

if the warrant is “so facially deficient—i.e., in failing to particularize the place to be searched or the

things to be seized—that the executing officers cannot reasonably presume it valid.” Leon, 468 U.S.

at 923.

          As determined previously, the Court finds that the magistrate was not misled by information

in the affidavit the affiant knew was false or was stated in reckless disregard for the truth. It has not

been asserted by Carney that the magistrate in this case acted to wholly abandon his judicial role.

Nor has it been asserted by Carney that the warrant was facially deficient in failing to describe the

place to be searched or the things to be seized. The only ground on which exclusion may be granted

is if the affidavit was “so lacking in indicia of probable cause as to render official belief in its

existence entirely unreasonable.” Brown, 422 U.S. at 610-11. This has otherwise been described by

the court as a “bare bones affidavit.” Savoca, 739 F.2d at 225; McPhearson, 469 F.3d at 526.

          In two similar cases, the Sixth Circuit has found that a bare bones affidavit will result in

suppression or exclusion of evidence obtained as a result of the search warrant. In McPhearson, the

Court stated that the good faith belief or objectively reasonable belief standard had not been met

when the affidavit did not contain a minimally sufficient nexus between McPhearson and his

residence. 469 F.3d at 526. As a result, the evidence gathered as a result of the search warrant was


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excluded. Id. at 526-27. In McPhearson, the mere fact that the defendant possessed illegal drugs did

not provide probable cause or establish a nexus that illegal drugs would be found in the home

resulting in an affidavit lacking in indicia of probable cause.

       In Savoca, the Court ruled “the affidavit establishes no more than a ‘bare suspicion’ that

incriminating evidence would be found in the motel room, and that the defendant’s motion to

suppress should have been granted.” 739 F.2d at 225 (citations omitted). Here, the mere fact that

two persons known to be involved in illegal activity were in the same place did not provide probable

cause or establish a nexus that evidence of the bank robberies would be found in the motel room

resulting in an affidavit lacking in indicia of probable cause.

       In the case at bar, the Court has determined there was no probable cause nexus established

between Carney, the vehicle and the apartment searched. This failure to establish a probable case

nexus has resulted in a bare bones affidavit with no more than a bare suspicion that evidence of

counterfeit bills would be found in either the apartment or the vehicle. There was probable cause

to arrest Carney; however, the arrest did not provide probable cause to search the apartment or

vehicle without some assertion that evidence of the crime could be found there. The fact that the

white SUV was parked in front of the apartment building is not a sufficient enough link to establish

probable cause. The use of counterfeit currency by another individual in purchasing a Wii, nearly

two weeks prior to the arrest and search, is not a sufficient enough link to establish probable cause.

While the sale of Wii may have linked the vehicle to counterfeit and the vehicle was again used at

the Circle K incident the passage of over a week since the Circle K transaction greatly reduced the

likelihood of finding evidence in the vehicle. As a result, the nexus the government has attempted

to create is much too attenuated to establish probable cause. The resulting affidavit could be


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described as bare bones or lacking in indicia of probable cause. Therefore, the Court finds that the

evidence obtained as a result of the search of the vehicle and the apartment must be excluded.

Carney’s Motion to Suppress is GRANTED.

       Only evidence obtained as a result of the search of the vehicle and apartment pursuant to the

search warrant shall be excluded. Evidence obtained by other persons, not acting pursuant to the

search warrant at issue here, is not excluded under this Order. Therefore, the counterfeit money

found in the apartment by the apartment manager on a later date is not excluded under this Order.

                                         CONCLUSION

       For the foregoing reasons IT IS HEREBY ORDERED that the Defendant’s Motion to

Suppress is GRANTED.




                                                                               September 30, 2009




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